
6 N.Y.3d 835 (2006)
PEOPLE v. LAWRENCE (KEITH).
Court of Appeals of the State of New York.
March 23, 2006.
Applications in criminal cases for leave to appeal denied.[*] (Graffeo, J.).
NOTES
[*]  Denied with leave to renew within 30 days after the Court of Appeals renders a decision in People v. Utsey (22 AD3d 268 [2005], lv granted 6 NY3d 781 [2006]), People v Nelson (21 AD3d 861 [2005], lv granted 6 NY3d 757 [2005]) and People v Smith (23 AD3d 280 [2005], lv granted 6 NY3d 759 [2005]).

